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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
       DID JOE BIDEN FILE FOR
11     BANKRUPTCY IN                             Case No. 2:20-cv-08541-ODW (GJS)
       PENNSYLVANIA? IF HE DID
12     WILL YOU STILL VOTE FOR
       HIM?; FREDERICK BANKS,
13                                                JUDGMENT
                   Petitioners
14
             v.
15
       CENTRAL INTELLIGENCE
16     AGENCY COMPLETELY
       CONTROLS THE US ELECTION
17     PROCESS USING “MICROWAVE
       HEARING”!; MICHAEL PHILLIPS,
18     WARDEN,
19                 Respondents.
20      Pursuant to the Court’s Order Dismissing Petition,
21      IT IS ADJUDGED THAT the above-captioned action is dismissed.
22
23   DATE: September 25, 2020       __________________________________
                                         OTIS D. WRIGHT II
24                                       UNITED STATES DISTRICT JUDGE
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